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 1                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 2                                      AT SEATTLE
 3
   UNITED STATES OF AMERICA, )
 4                               )
                Plaintiff,       )                CASE NO.       CR05-391RSM
 5                               )
           v.                    )
 6                               )
   ELIJAH VICTOR FUHR,           )                DETENTION ORDER
 7                               )
                Defendant.       )
 8                               )
   _____________________________ )
 9
     Offense charged:
10
               Violation of the special condition of his bond that he have no direct or indirect
11
     contact with co-defendants.
12
     Date of Detention Hearing: January 4, 2006
13
               The Court, having conducted a bond revocation and a detention hearing pursuant
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     to Title 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons
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     for detention hereafter set forth, finds that no condition or combination of conditions which
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     the defendant can meet will reasonably assure the appearance of the defendant as required
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     and the safety of any other person and the community. The Government was represented by
18
     Ron Friedman and Rich Cohen. The defendant was represented by Robert Goldsmith.
19
          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
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               (1) The defendant admitted to the violation of passing a non-threatening
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                    message to co-defendant, Colleen Flock, through her niece, Brandy
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                    Williams, on December 29, 2005 and by attempting to contact Ms. Flock
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                    at her residence in Auburn Washington on December 30, 2005.
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               (2) The Court finds no justification to warrant a 3:00 a.m. visit by the
25
                    defendant to co-defendant Flock.
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 1         (3) Due to the nature and seriousness of the crime alleged, release of the
 2              defendant would pose a risk to the community.
 3         It is therefore ORDERED:
 4         (l) Defendant shall be detained pending trial and committed to the custody of
 5             the Attorney General for confinement in a correctional facility separate, to
 6             the extent practicable, from persons awaiting or serving sentences, or being
 7             held in custody pending appeal;
 8         (2) Defendant shall be afforded reasonable opportunity for private
 9             consultation with counsel;
10         (3) On order of a court of the United States or on request of an attorney for the
11             Government, the person in charge of the correctional facility in which
12             Defendant is confined shall deliver the defendant to a United States
13             Marshal for the purpose of an appearance in connection with a court
14             proceeding; and
15         (4) The clerk shall direct copies of this order to counsel for the United States,
16             to counsel for the defendant, to the United States Marshal, and to the
17             United States Pretrial Services Officer.
18         DATED this 9th day of January, 2006.
19



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22                                                   MONICA J. BENTON
                                                     United States Magistrate Judge
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     DETENTION ORDER
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